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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF
                           PENNSYLVANIA

CHRISTOPHER J. HADNAGY,
individually and on behalf of
SOCIAL-ENGINEER, LLC,
                                        No. 2:22-cv-03060-WB
            Plaintiffs,
                                        Defendants’ Motion to Dismiss for
      v.                                Lack of Personal Jurisdiction and
                                        Failure to State a Claim
JEFF MOSS, and
DEF CON COMMUNICATIONS,                 Oral Argument Requested
INC.,

            Defendants.



     Pursuant to Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6)

and for the reasons stated in the accompanying Memorandum of Law,

which is incorporated here as though fully set forth, Defendants Jeff

Moss and DEF CON Communications, Inc. respectfully request that all

claims against them in the Complaint be dismissed for lack of personal

jurisdiction. Alternatively, if the Court concludes that there is personal

jurisdiction over Defendants, Defendants respectfully request that all

claims against them in the Complaint be dismissed with prejudice.
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Date: October 11, 2022

                               By: /s/ Matt Mertens_______
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                                Counsel for Defendants Jeff Moss and
                                DEF CON Communications, Inc.




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                       CERTIFICATE OF SERVICE

     I hereby certify that on October 22, 2022, I caused a true and

correct copy of the foregoing Defendants’ Motion to Dismiss for Lack of

Personal Jurisdiction and Failure to State a Claim to be served via

CM/ECF filing upon counsel for all parties.



                                   /s/ Jonathan L. Cochran
                                   Jonathan L. Cochran
